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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

JASON NEMES, et al.                           :        Case No. 3:20-CV-407-CRS

v.                                            :

CARL BENSINGER, et. al.                       :

               AGREED ORDER OF DISMISSAL WITHOUT PREJUDICE

       Plaintiffs Jason Nemes, James Howland, Ken Kearns, Aaron Gillum, Theodore Roberts,

Tyson Hermes, and Erik Hermes (the “Original Plaintiffs”), by and through Counsel, and

Defendant Michael Adams, in his official capacity as Kentucky Secretary of State, by and

through Counsel, agree and stipulate to settle this matter as follows:

       1. The Court has not yet ruled on Intervening Plaintiff Amy McGrath for Senate, Inc.’s

           motion to intervene in the afore-referenced matter.

       2. The Court has not yet ruled on Intervening Plaintiff Keisha Dorsey’s motion to

           intervene in the afore-referenced matter.

       3. Secretary Adams has objected to Intervening Plaintiff Amy McGrath for Senate,

           Inc.’s motion to intervene in the afore-referenced matter.

       4. Secretary Adams does not object to Intervening Plaintiff Dorsey’s intervention in the

           afore-referenced matter.

       5. Secretary Adams did not vote for, nor did he have the authority to vote for, and he

           does not support, the single polling place for the 2020 Primary Election in larger

           Kentucky Counties, including Jefferson, Fayette, Kenton, Boone, and Campbell

           Counties.

       6. Intervening Plaintiff Keisha Dorsey simultaneously is settling this matter with
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       Secretary Adams, through a separate agreed order, on terms identical to those herein,

       in case the Court should grant Intervening Plaintiff Keisha Dorsey’s motion to

       intervene.

    7. In exchange for his dismissal without prejudice, under FRCP 41(a), Secretary Adams

       and the Original Plaintiffs agree that:

           a. Secretary Adams will assist, and have his staff assist, in any and all relief that

              may be ordered by the Court, including assisting to publish via his website

              and other media that he maintains, the location of any additional polling

              places that may be ordered by the Court;

           b. Secretary Adams is hereby dismissed without prejudice under FRCP 41,

              except as to any claims made by Intervening Plaintiff Amy McGrath for

              Senate, Inc., if the Court grants Intervening Plaintiff Amy McGrath for

              Senate, Inc.’s motion to intervene;

           c. Unless and until such time as the Court denies Amy McGrath for Senate,

              Inc.’s motion to intervene, Secretary Adams reserves all rights to oppose Amy

              McGrath for Senate, Inc.’s Complaint for Injunctive and Declaratory Relief

              and any other submissions made by Amy McGrath for Senate, Inc., in the

              afore-referenced matter;

           d. The Court will retain jurisdiction to enforce this Agreed Order; and

           e. Each party will bear their own costs and fees, the Original Plaintiffs expressly

              agreeing that Secretary Adams will not be liable for attorney fees or costs

              under 42 U.S.C. 1988 or other applicable law.
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IT IS SO ORDERED:

June 15, 2020
June 16, 2020


_____________________________
The Hon. Charles Simpson
Judge, U.S. District Court
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Stipulated and Agreed:



/s/Christopher Wiest               /s/Michael Wilson
Counsel for the Plaintiffs         Counsel for Secretary of State Michael Adams
